     Case 3:24-cv-06266-JSC     Document 1   Filed 09/05/24   Page 1 of 43




 1 Teresa S. Renaker, Cal. Bar. No. 187800
   teresa@renakerscott.com
 2 Kirsten G. Scott, Cal. Bar. No. 253464
   kirsten@renakerscott.com
 3 RENAKER SCOTT LLP
   505 Montgomery Street, Suite 1125
 4 San Francisco, California 94111
   Telephone: (415) 653-1733
 5 Facsimile: (415) 727-5079
 6 Wendy Stryker (pro hac vice application pending)
   wstryker@fkks.com
 7 Kristen Niven (pro hac vice application pending)
   kniven@fkks.com
 8 FRANKFURT KURNIT           KLEIN + SELZ PC
   28 Liberty Street, 35th Floor
 9 New York, NY 10005
   Telephone: (212) 980-0120
10 Facsimile: (212) 593-9175
11 Attorneys for Plaintiffs
12                       UNITED STATES DISTRICT COURT
13                    NORTHERN DISTRICT OF CALIFORNIA
14                             SAN FRANCISCO DIVISION
15 SARAH PERSONETTE, JAMES                   Case No. 3:24-cv-6266
   SULLIVAN, and DALANA BRAND,
16                                           COMPLAINT FOR BREACH OF
                Plaintiffs,                  CONTRACT, AND FOR
17                                           SEVERANCE BENEFITS AND
          v.                                 EQUITABLE RELIEF
18
   ELON MUSK; X CORP., f/k/a                 DEMAND FOR JURY TRIAL AS TO
19 TWITTER, INC.; TWITTER, INC.              NON-ERISA CLAIMS
   CHANGE OF CONTROL AND
20 INVOLUNTARY TERMINATION
   PROTECTION POLICY; and DOES 1-
21 20, inclusive,
22               Defendants.
23
24
25
26
27
28
                                                                      Case No. 3:24-cv-6266
                                       COMPLAINT
      Case 3:24-cv-06266-JSC     Document 1     Filed 09/05/24   Page 2 of 43




 1                                   INTRODUCTION
 2         1.    The dramatic acquisition of Twitter, Inc. (subsequently Defendant X
 3 Corp., hereinafter “Twitter” or the “Company”) by Defendant Elon Musk (“Mr.
 4 Musk”) in 2022 and the ensuing legal battles have been widely publicized. Here,
 5 Plaintiffs are three additional executives at Twitter who relied on the existence of
 6 their severance benefits to stay at Twitter and to help guide the Company through
 7 the tumultuous events of the acquisition in order to ensure that operations and
 8 transition were as smooth as possible, fulfilling their duties to the Company, the
 9 shareholders, the buyers and the many employees they supervised.
10         2.    Once it became clear that their duties would be materially and
11 irreversibly changed upon the conclusion of the acquisition, each Plaintiff tendered
12 their resignation for “Good Reason” in a manner designed to be as cooperative as
13 possible.
14         3.    As in other similar cases, however, Elon Musk and Twitter did not
15 welcome Plaintiffs’ assistance, but instead engaged in ongoing bad faith and
16 deceptive tactics to refuse to pay Plaintiffs and other executives the benefits to
17 which they are entitled, and which Mr. Musk knew would be due to them upon a
18 “Change of Control” event such as his purchase of the Company.
19         4.    Specifically, Mr. Musk and Twitter abruptly shut Plaintiffs out of the
20 Twitter offices and computer systems, insisted that until a certain date they
21 remained employees who needed to participate in an internal investigation while not
22 paying them or treating them like employees, and strung them along with promises
23 of providing their separation benefits until abruptly, hours before the end of their
24 notice period on the Sunday evening of Thanksgiving weekend, he terminated them
25 “for Cause” while not specifying a single piece of evidence demonstrating such
26 “Cause.”
27         5.    Musk then appointed his agents (including employees from his
28 companies) to deny the severance claims that Ms. Personette, Mr. Sullivan, and Ms.
                                                                          Case No. 3:24-cv-6266
                                          COMPLAINT
         Case 3:24-cv-06266-JSC    Document 1       Filed 09/05/24   Page 3 of 43




 1 Brand filed as part of the severance benefit administrative process.
 2           6.    Plaintiffs have not engaged in any misconduct or done anything which
 3 could be considered “Cause” for termination. Rather, any stated bases for
 4 termination, which have continued to shift and change throughout the claims
 5 process, were manufactured in bad faith to evade claims by Plaintiffs and other
 6 executives whom Musk had terminated specifically to deny them severance plan
 7 benefits.1
 8           7.    Plaintiffs bring this action for wrongful denial of severance benefits
 9 under Section 502(a)(1)(b) of the Employee Retirement Income Security Act of
10 1974, as amended (“ERISA”). In addition, because Musk fired each Plaintiff to
11 interfere with their right to benefits, each Plaintiff also brings claim for interference
12 with protected rights in violation of ERISA Section 510, as well as other related
13 claims to enforce their right to receive benefits under ERISA Section 502(a) and for
14 breach of contract under the Twitter, Inc. 2013 Equity Incentive Plan Restricted
15 Stock Unit Agreements.
16                                         PARTIES
17           8.    Plaintiff Sarah Personette (“Ms. Personette”) was an employee of
18 Twitter from October 1, 2018 until November 27, 2022. Ms. Personette joined
19 Twitter as the Company’s Vice President, Head of Global TCS, based in the
20 Company’s New York, New York office. From July 1, 2021, Ms. Personette was
21 promoted to Chief Customer Officer leading the Customers organization. In her
22 position as Chief Customer Officer, Ms. Personette reported to the CEO of the
23 Company. Ms. Personette at all relevant times resided in Fair Haven, New Jersey
24 and worked in New York, New York. Ms. Personette is a participant, as defined by
25 ERISA § 3(7), 29 U.S.C. § 1002(7), in the Twitter, Inc. Change of Control and
26
27   1
    Each Plaintiff is entitled to severance benefits including twelve months of base
28 salary and COBRA premiums, plus 50% of their unvested Restricted Stock Units.

                                                2                            Case No. 3:24-cv-6266
                                            COMPLAINT
         Case 3:24-cv-06266-JSC   Document 1       Filed 09/05/24   Page 4 of 43




 1 Involuntary Termination Protection Policy, as amended and restated effective
 2 August 8, 2014 and related Participation Agreement(s) (the “Plan”).2
 3           9.    Plaintiff James Sullivan (“Mr. Sullivan”) was an employee of Twitter
 4 from on or about November 8, 2021 until November 27, 2022. Mr. Sullivan was
 5 initially hired as “VP, Product” and was based in the Company’s San Francisco,
 6 California office. He was promoted effective May 1, 2022 to General Manager,
 7 Bluebird. In his position as General Manager, Bluebird, Mr. Sullivan reported to the
 8 CEO of the Company. Mr. Sullivan also served as interim General Manager of
 9 “Goldbird,” Twitter’s revenue products. Mr. Sullivan at all relevant times was a
10 resident of Oakland, California and worked in San Francisco, California. Mr.
11 Sullivan is a participant, as defined by ERISA § 3(7), 29 U.S.C. § 1002(7), in the
12 Plan.
13           10.   Plaintiff Dalana Brand (“Ms. Brand”) was an employee of the
14 Company from on or about July 12, 2018 until November 27, 2022. Ms. Brand was
15 originally hired as VP, Total Rewards, and was promoted effective December 31,
16 2021 to Chief Human Resources Officer and Head of Inclusion and Diversity
17 (“CHRO”). In her position as CHRO, Ms. Brand reported to the CEO of the
18 Company. Ms. Brand at all relevant times was a resident of Clayton, California and
19 worked in San Francisco, California. Ms. Brand currently resides in New York,
20 New York. Ms. Brand is a participant, as defined by ERISA § 3(7), 29 U.S.C. §
21 1002(7), in the Plan.
22           11.   Defendant Elon Musk is the Chairman, Sole Director, Chief
23 Technology Officer, and controlling shareholder of Defendant X Corp., the entity
24 into which he merged Twitter, Inc. in April 2023. At all times relevant to the
25 Complaint, Mr. Musk was and/or is the CEO of X Corp.
26
27   2
    A copies of the Plan and Participation Agreements as applicable to each Plaintiff
28 are attached as Exhibits A, B and C.

                                               3                            Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1       Filed 09/05/24   Page 5 of 43




 1        12.    Defendant X Corp. is a Nevada corporation with its headquarters in San
 2 Francisco, California and is the successor in interest to Twitter, Inc., a Delaware
 3 corporation headquartered in San Francisco, California. X Corp. succeeded to all of
 4 Twitter’s obligations upon the October, 27, 2022 closing of the merger transaction,
 5 including Twitter’s obligations under the Plan. X Corp. is the Plan Sponsor and
 6 funding source of the Plan.
 7        13.    Upon Mr. Musk’s acquisition of Twitter, there was and continues to be
 8 such unity of interest and ownership between Twitter and Mr. Musk that there is no
 9 longer a separate corporate status among Mr. Musk, Twitter, and Twitter’s successor
10 X Corp. Mr. Musk controls Twitter’s decision making and operations and
11 disregards corporate formalities in conducting Twitter’s operations based on his
12 personal whims and/or polls conducted from his personal Twitter account.
13        14.    Mr. Musk often employs and relies on Excession, LLC (“Excession”),
14 his personal family office, and Excession employees to conduct X Corp. business.
15 Mr. Musk also relies on personal friends, family members, and longtime business
16 associates and investors to provide services to Twitter. On information and belief,
17 Mr. Musk brought in family members to work at Twitter.
18        15.    Mr. Musk has commingled assets of his other companies with Twitter.
19 On information and belief, Mr. Musk has allowed Twitter’s assets to be used by his
20 other companies, including Tesla and xAI. Additionally, Mr. Musk regularly uses
21 employees of his other companies to conduct Twitter business on his behalf and has
22 granted them access to Twitter’s systems and records. For instance, as the Delaware
23 Court of Chancery found, Mr. Musk enlisted approximately fifty Tesla engineers to
24 provide services to Twitter following the acquisition, none of whom were hired,
25 retained, or paid by Twitter for services they provided to Twitter. xAI employees
26 also reportedly have been working out of Twitter’s headquarters.
27        16.    It would be inequitable and unjust to prevent Plaintiffs from recovering
28 other remedies from Mr. Musk, who is personally responsible for and will

                                              4                            Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1       Filed 09/05/24   Page 6 of 43




 1 individually benefit from the acts of Twitter and entities controlled by him.
 2        17.    The Plan is an employee welfare benefit plan as defined by ERISA §
 3 3(1), 29 U.S.C. § 1002(1) because it is a plan, fund, or program that was established
 4 or maintained by an employer, Twitter, for the purpose of providing its participants
 5 with severance benefits.
 6        18.    The true names and capacities of Defendants named herein as Does 1
 7 through 20, whether individual, corporate, associate or otherwise, and the true
 8 involvement of Defendants sued herein as Does 1 through 20, are unknown to
 9 Plaintiffs, who therefore sue said Defendants by such fictitious names. Plaintiffs
10 will amend this Complaint to show the true names, capacities, and involvement of
11 Does 1 through 20 when ascertained. Plaintiffs are informed and believe and
12 thereon alleges that each of the Defendants designated as a “Doe” is responsible in
13 some manner for the events and happenings referred to herein, and that Plaintiffs’
14 injuries and damages as hereinafter set forth were proximately caused by said
15 Defendants.
16        19.    Plaintiffs are informed and believe and thereon allege that each of the
17 Defendants named as Does 1 through 20 is or was the agent, employee, partner
18 and/or representative of one or more of the remaining Defendants, and each of them
19 was at all times acting within the purpose and scope of such agency and
20 employment, except as otherwise provided by the Plan. Upon further information
21 and belief, each of the Defendants herein gave consent to, ratified, and authorized
22 the acts alleged herein to each of the remaining Defendants.
23           JURISDICTION, VENUE, and DIVISIONAL ASSIGNMENT
24        20.    This Court has subject matter jurisdiction over Plaintiffs’ claims
25 pursuant to ERISA § 502(e) and (f), 29 U.S.C. § 1332(e) and (f), and 28 U.S.C. §
26 1331. Additionally, this Court has subject matter jurisdiction pursuant to 28 U.S.C.
27 § 1332(a) because the parties are citizens of different states. The amount in
28 controversy exceeds $75,000 exclusive of interest and costs.

                                              5                            Case No. 3:24-cv-6266
                                          COMPLAINT
      Case 3:24-cv-06266-JSC     Document 1        Filed 09/05/24   Page 7 of 43




 1         21.   Venue lies in the Northern District of California pursuant to ERISA §
 2 502(e)(2), 29 U.S.C. § 1132(e)(2), because the subject Plan is administered in part in
 3 this District, some of the breaches alleged took place in this District, and because
 4 one or more Defendants can be found in this District. Venue is also proper pursuant
 5 to 28 U.S.C. § 1391(b), because a substantial part of the events or omissions giving
 6 rise to Plaintiffs’ claims occurred within this District. Finally, Paragraph 24 of
 7 Plaintiffs’ Award Agreements with Twitter, under which each of their breach of
 8 contract and breach of the implied covenant of good faith and fair dealing claims
 9 arise, contain the following contractual venue provision, selecting the Northern
10 District of California as a venue for resolving litigation of disputes arising under the
11 Award Agreements:
12
           This Award Agreement will be governed by the laws of Delaware
13         without giving effect to the conflict of law principles thereof. For
           purposes of litigating any dispute that arises under this Award of
14         Restricted Stock Units or this Award Agreement, the parties hereby
           submit to and consent to the jurisdiction of the State of California, and
15         agree that such litigation will be conducted in the courts of the County
           of San Francisco, California, or the federal courts for the United States
16         for the Northern District of California, and no other courts, where this
           Award of Restricted Stock Units is made and/or to be performed.
17         (Exhibit 2, ¶ 24.)
18         22.   This action should be assigned to the San Francisco Division or the
19 Oakland Division because the subject employee benefit plan is administered in part
20 in San Francisco County, and a substantial part of the events or omissions that give
21 rise to the claims occurred in San Francisco County, including in that Plaintiffs
22 Sullivan and Brand were employed in San Francisco County.
23                              FACTUAL BACKGROUND
24 A.      Plaintiffs’ Employment and Plan Participation at Twitter
25         (i)   Sarah Personette
26         23.   Ms. Personette was originally hired by the Company effective October
27 8, 2018, as VP, Head of Global TCS. She was promoted to Chief Customer Officer
28 (“CCO”) effective July 1, 2021. As CCO, Ms. Personette became a member of

                                               6                            Case No. 3:24-cv-6266
                                          COMPLAINT
      Case 3:24-cv-06266-JSC      Document 1       Filed 09/05/24   Page 8 of 43




 1 “Staff,” which at Twitter referred to the class of executives who reported directly to
 2 Twitter’s Chief Executive Officer. Her responsibilities as CCO included managing
 3 client relationships and revenue growth.
 4         24.    As a part of her October 2018 offer letter, Ms. Personette was awarded
 5 “New Hire” Restricted Stock Units (“RSUs”) subject to the terms of the 2013
 6 Equity Incentive Plan (the “2013 Plan”).
 7         25.    Ms. Personette was granted additional equity awards in 2019, 2020,
 8 2021, and 2022 with associated agreements that were made under the 2013 Plan.
 9         26.    On May 12, 2022, in connection with her July 21, 2021 promotion to
10 CCO, Ms. Personette executed a Participation Agreement to participate in the Plan
11 as an “Eligible Employee.” Upon information and belief, the approval of Ms.
12 Personette’s participation in the Plan was consistent with prior practice (i.e. that
13 members of Staff were approved for participation) and in the ordinary course of
14 business.
15         27.    The Plan, including the Participation Agreement, entitled Ms.
16 Personette to receive certain benefits, including “Severance Benefits” if her
17 employment ended as a result of Involuntary Termination (defined to include
18 resignation for “Good Reason”) during a Change of Control Period.
19         28.    Ms. Personette was consistently recognized for her excellent
20 performance throughout her employment, including receiving an Impact Award
21 during the Q1 2022 planning cycle, an additional compensation award and
22 recognition reserved for top-performing employees.
23         29.    During the course of her employment at Twitter, Ms. Personette never
24 received any material negative feedback, was never advised she had failed to follow
25 company policies or rules, and was never advised that she had engaged in gross
26 negligence or willful misconduct.
27         (ii)   Jay Sullivan
28         30.    Mr. Sullivan was originally hired by the Company effective November

                                               7                            Case No. 3:24-cv-6266
                                          COMPLAINT
      Case 3:24-cv-06266-JSC      Document 1       Filed 09/05/24   Page 9 of 43




 1 8, 2021, as “VP, Product.” He was promoted to General Manager, Bluebird,
 2 effective May 1, 2022. As GM for the Bluebird team, Mr. Sullivan became a
 3 member of “Staff” and reported directly to Twitter’s Chief Executive Officer. His
 4 responsibilities included leading the design and engineering of Twitter’s consumer-
 5 facing product.
 6        31.     As a part of his September 2021 offer letter, Mr. Sullivan was awarded
 7 “New Hire” Restricted Stock Units (“RSUs”) subject to the terms of the 2013
 8 Equity Incentive Plan (the “2013 Plan”).
 9        32.     Mr. Sullivan was granted additional equity awards in 2022 with
10 associated agreements that were made under the 2013 Plan.
11        33.     On May 21, 2022, in connection with his May 1, 2022 promotion to
12 GM, Bluebird, Mr. Sullivan also executed a Participation Agreement to participate
13 in the Plan as an “Eligible Employee,” entitling Mr. Sullivan to receive certain
14 benefits, including Severance Benefits, if his employment ended as a result of
15 Involuntary Termination during a Change of Control Period. Upon information and
16 belief, the approval of Mr. Sullivan’s participation in the Plan was consistent with
17 prior practice (i.e. that members of Staff were approved for participation) and in the
18 ordinary course of business.
19        34.     During the course of his employment at Twitter, Mr. Sullivan never
20 received any material negative feedback, was never advised he had failed to follow
21 company policies or rules, and was never advised that he had engaged in gross
22 negligence or willful misconduct.
23        (iii)   Dalana Brand
24        35.     Ms. Brand was originally hired by the Company on or about July 12,
25 2018, as VP, Total Rewards. She was promoted to Chief Human Resources Officer
26 and Head of Inclusion & Diversity (“CHRO”) effective December 31, 2021. As
27 CHRO, Ms. Brand became a member of “Staff” and reported directly to Twitter’s
28 Chief Executive Officer. Her responsibilities as CHRO included overseeing all

                                               8                            Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1      Filed 09/05/24   Page 10 of 43




 1 aspects of human resources, including talent acquisition and management,
 2 organization development, diversity, equity, and inclusion, compensation and
 3 benefits, employee relations, and compliance.
 4         36.   As a part of her July 2018 offer letter, and September 11, 2020
 5 modification of the offer letter, Ms. Brand was awarded “New Hire” RSUs subject
 6 to the terms of the 2013 Plan.
 7         37.   Ms. Brand was granted additional equity awards in 2018, 2019, 2020,
 8 2021, and 2022 with associated agreements that were made under the 2013 Plan.
 9         38.   On May 25, 2022, in connection with her promotion to CHRO, Ms.
10 Brand also executed a Participation Agreement to participate in the Plan as an
11 “Eligible Employee,” entitling Ms. Brand to receive certain benefits, including
12 Severance Benefits, if her employment ended as a result of Involuntary Termination
13 during a Change of Control Period. Upon information and belief, the approval of
14 Ms. Brand’s participation in the Plan was consistent with prior practice (i.e. that
15 members of Staff were approved for participation) and in the ordinary course of
16 business.
17         39.   During the course of her employment at Twitter, Ms. Brand never
18 received any material negative feedback, was never advised she had failed to follow
19 company policies or rules, and was never advised that she had engaged in gross
20 negligence or willful misconduct.
21 B.      The Terms of the Plan and Plaintiffs’ Participation Agreements
22         40.   The Plan provides that participants are eligible to receive “Severance
23 Benefits” as follows:
24         As an Eligible Employee for Change of Control Severance Benefits, you
           will be eligible for severance benefits under this Policy if: (1) during the
25         Change of Control Period (as defined below) and (2) your employment
           with Twitter of any of its subsidiaries terminates as a result of an
26         Involuntary Termination (a “COC Qualified Termination”). If your
           employment with Twitter or any of its subsidiaries terminates as a result
27         of a COC Qualified Termination, you will be eligible to receive the
           applicable Equity Vesting, Cash Severance and COBRA Benefit
28         described herein and specified on your Participation Agreement.

                                                9                           Case No. 3:24-cv-6266
                                           COMPLAINT
     Case 3:24-cv-06266-JSC     Document 1      Filed 09/05/24   Page 11 of 43




 1        41.    The Plan defines “Involuntary Termination” as “a termination of
 2 employment by the Company other than for Cause, death or Disability or a
 3 termination of employment by [Ms. Personette, Mr. Sullivan, or Ms. Brand, as
 4 applicable] for Good Reason.”
 5        42.    The Plan defines “Good Reason” for a participant terminating their
 6 employment, in relevant part, as follows:
 7        [Y]our termination of employment within thirty (30) days following the
          “notice and cure period” in the next paragraph following the occurrence
 8        of one or more of the following events, without your express written
          consent: (a) a material adverse change in the nature or scope of your
 9        authority powers, functions, duties, responsibilities, or reporting
          relationship (including ceasing to directly report to the chief executive
10        office or board of directors of a publicly traded entity . . . ).
11        43.    The Plan defines “Cause” for a participant terminating their
12 employment, as follows:
13
          (a) your unauthorized use or disclosure of the Company’s confidential
14        information or trade secrets, which use or disclosure causes material
          harm to the Company; (b) your breach of any agreement between you
15        and the Company; (c) your failure to comply with the Company’s written
          policies or rules, including its code of conduct; (d) your conviction of, or
16        plea of “guilty” or “no contest” to, a felony under the laws of the United
          States or any state thereof; (e) your gross negligence or willful
17        misconduct in the performance of your duties; (f) your continuing failure
          to perform assigned duties after receiving written notification of the
18        failure from the Board (or for Eligible Employees other than the Chief
          Executive Officer, from the Chief Executive Officer); or (g) your failure
19        to cooperate in good faith with a governmental or internal investigation
          of the Company or its directors, officers or employees, if the Company
20        has requested your cooperation; provided, however, that “Cause” will
          not be deemed to exist in the event of subsections (b), (c) or (f) above
21        unless you have been provided with (i) 30 days’ written notice by the
          Board or the act or omission constituting “Cause” and (ii) 30 days’
22        opportunity to cure such act or omission, if capable of cure.
23        44.    Under the Plan and her Participation Agreement, Ms. Personette is
24 entitled to accelerated vesting of 50% of her then-unvested equity, one year of base
25 salary, and one year of COBRA benefits if she experiences a COC Qualified
26 Termination, whether a resignation for Good Reason or a termination by the
27 Company other than for Cause, amounting to approximately $17,605,625.30.
28        45.    Under the Plan and his Participation Agreement, Mr. Sullivan is

                                               10                          Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC     Document 1    Filed 09/05/24   Page 12 of 43




 1 entitled to accelerated vesting of 50% of his then-unvested equity, one year of base
 2 salary, and one year of COBRA benefits if he experiences a COC Qualified
 3 Termination, whether a resignation for Good Reason or a termination by the
 4 Company other than for Cause, amounting to approximately $21,785,500.30.
 5        46.    Under the Plan and her Participation Agreement, Ms. Brand is entitled
 6 to accelerated vesting of 50% of her then-unvested equity, one year of base salary,
 7 and one year of COBRA benefits if she experiences a COC Qualified Termination,
 8 whether a resignation for Good Reason or a termination by the Company other than
 9 for Cause, amounting to approximately $13,965,359.00.
10 C.     Exhaustion of Administrative Remedies
11        47.    In letters to Ms. Personette, Mr. Sullivan, and Ms. Brand dated April
12 11, 2023, Lindsay Chapman identified herself as the Administrator of the Plan,
13 asserting that she had been appointed as the Administrator on January 31, 2023.
14 However, in response to Plaintiffs’ requests, no document memorializing a
15 delegation of fiduciary authority to Ms. Chapman was provided. Chapman, whose
16 LinkedIn profile identifies her as a Senior Director of Human Resources at SpaceX,
17 one of Mr. Musk’s other companies, also purports to be a member of the Twitter
18 Severance Administration Committee (“Committee”), which purportedly decided
19 the administrative appeals that Plaintiffs each submitted in response to Ms.
20 Chapman’s denial of their Claims. The Plan does not confer any authority on the
21 Committee and does not recognize the existence of the Committee.
22        48.    The Committee is purportedly composed of members including
23 employees or executives at other companies owned by Mr. Musk. For example,
24 Brian Bjelte, who is Vice President of Human Resources at SpaceX, and ostensibly
25 the person to whom Ms. Chapman reports at SpaceX, purports to be a member of
26 the Committee. Dhruv Batura also purports to be a member of the Committee. On
27 information and belief, Mr. Batura is or was at relevant times a Senior Director of
28 Finance at X Corp., having previously worked for Mr. Musk for ten years at Tesla,

                                             11                         Case No. 3:24-cv-6266
                                         COMPLAINT
     Case 3:24-cv-06266-JSC     Document 1    Filed 09/05/24     Page 13 of 43




 1 Inc., another company owned by Mr. Musk.
 2         49.   Each of the Plaintiffs exhausted their administrative remedies under the
 3 Plan even though as explained below, the purported Administrator and Committee
 4 were not authorized by the Plan to decide claims and deprived Plaintiffs of any
 5 neutral or meaningful review in the administrative process.
 6         50.   Pursuant to ERISA § 503, 29 U.S.C. § 1133, and the Department of
 7 Labor regulations thereunder, Plaintiffs submitted claims for benefits under the Plan
 8 by letters dated December 16, 2022.
 9         51.   By letters dated June 14, 2023, Ms. Chapman denied the claims.
10         52.   By letters dated November 7, 2023, Plaintiffs appealed the claim
11 denials.
12         53.   By letters dated March 6, 2024, the “Twitter Severance Administration
13 Committee,” an entity not provided for by the Plan terms, denied Plaintiffs’ appeals.
14 D.      Elon Musk’s Takeover of Twitter Created a Material Adverse Change in
           Plaintiffs’ Positions as Defined in the Plan
15
16         54.   Starting in January 2022, Defendant Musk began accumulating
17 significant amounts of Twitter common stock. By the time he disclosed his holdings
18 in a public report on April 4, 2022, as required under the Securities Exchange Act of
19 1934 for purchasers of more than 5% of a public company’s stock, Mr. Musk
20 already owned over a nine percent ownership stake in Twitter. Although Mr. Musk
21 claimed to be a passive investor in his disclosure and accepted a position on
22 Twitter’s Board of Directors the next day, by April 9, 2022, Mr. Musk notified the
23 company that he would instead be making an offer to acquire Twitter on April 13,
24 2022.
25         55.   Mr. Musk offered to purchase the company at a price of $54.20 per
26 share, which was a 38% premium over the stock’s closing price on the day before
27 his investment was disclosed.
28         56.   On April 14, 2022, Twitter’s Board created a Transactions Committee

                                             12                          Case No. 3:24-cv-6266
                                         COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1     Filed 09/05/24   Page 14 of 43




 1 comprised of three highly qualified independent directors to assist and advise the
 2 Twitter Board in its consideration of Mr. Musk’s acquisition proposal.
 3         57.   None of the Plaintiffs were members of the Transactions Committee or
 4 of any committee involved in the sale transaction with Elon Musk and were not
 5 invited to participate in regular Board or committee meetings around the transaction.
 6 Plaintiffs played no significant role in the strategy with respect to sale of the
 7 Company.
 8         58.   After reviewing the offer and considering alternatives, Twitter’s Board
 9 ultimately accepted Mr. Musk’s offer to purchase the company, and the Merger
10 Agreement was signed on April 25, 2022.
11         59.   Less than two weeks after the Twitter Board accepted Mr. Musk’s
12 offer, he began attempting to back out of the deal. On May 13, 2022, Mr. Musk
13 tweeted that the deal was “temporarily on hold pending details supporting
14 calculation that spam/fake accounts do indeed represent less than 5% of users.” This
15 came as a surprise to the Company leadership and shareholders. Mr. Musk
16 continued to maintain that he was not bound to go through with the acquisition,
17 finally delivering a notice to Twitter on July 8, 2022, purporting to terminate the
18 Merger Agreement.
19         60.   Twitter filed a lawsuit against Mr. Musk in the Delaware Court of
20 Chancery to enforce the Merger Agreement. After months of intense, fast-paced
21 litigation, days before trial, and on the eve of Mr. Musk’s deposition, he abruptly
22 capitulated and agreed to complete the acquisition on the original terms of the
23 Merger Agreement. The deal closed on October 27, 2022.
24         61.   During the intense and volatile period of the acquisition litigation,
25 between mid-May and late October of 2022, there was enormous uncertainty both
26 within the Company and as reflected in Twitter’s stock price, as to whether the deal
27 would close and on what terms. Many employees left the Company during this
28 tumultuous period. Plaintiffs and other executives worked diligently to continue to

                                               13                          Case No. 3:24-cv-6266
                                           COMPLAINT
     Case 3:24-cv-06266-JSC     Document 1     Filed 09/05/24   Page 15 of 43




 1 operate the business responsibly and in a manner consistent the Merger Agreement
 2 and their obligations to the Twitter Board and shareholders, including by working to
 3 retain key employees in order to continue operations and ease the eventual transition
 4 of the Company following the acquisition.
 5        62.    As the acquisition closing drew near, Mr. Musk became aware that
 6 several executives would be entitled to payments under the Plan and similar
 7 severance benefit plans. As has been publicly reported, he then accelerated the
 8 closing of the deal, cut off the email access of multiple top executives, including
 9 former CEO Parag Agrawal, and concocted false “cause” justifications to terminate
10 them before they could tender their resignations and claim their severance benefits,
11 all in an improper attempt to avoid making the required payments under the Plan.
12        63.    As he took over the day-to-day operations, Mr. Musk issued various
13 draconian mandates to Twitter employees, including that they should resign unless
14 they were willing to “work[] long hours at high intensity” and “be extremely
15 hardcore.” He tweeted that employees who were working remotely would be
16 required to return to in person work. Hundreds more employees resigned, further
17 threatening the stability of the Company, and making Plaintiffs’ attempt to continue
18 operations and smooth the transition process even more difficult.
19 E.     Plaintiffs Resigned for Good Reason
20        64.    Under the express terms of the Plan, a Change of Control Period
21 commenced on October 27, 2022, when Mr. Musk and his companies closed on
22 their acquisition of Twitter. At that moment, Twitter stopped being a publicly
23 traded entity and became privately held.
24        65.    In addition, Mr. Musk’s acquisition of Twitter constituted a “material
25 adverse change” to each of Plaintiffs’ positions as defined under the Plan, because,
26 as of the date of the closing, they no longer reported to the CEO or Board of a
27 publicly traded company.
28        66.    Accordingly, each of the Plaintiffs had “Good Reason” to terminate

                                              14                         Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1     Filed 09/05/24   Page 16 of 43




 1 their employment with Twitter. After careful consideration, Plaintiffs decided to
 2 serve notice of their resignation for “Good Reason” under the Plan, triggering the
 3 30-day notice and cure period under the Plan, and entitling them to their severance
 4 benefits under the Plan at the expiration of that period, since Twitter’s acquisition
 5 and conversion to a privately held company made curing the material adverse
 6 change by the end of the 30 days impossible.
 7         67.   The day after the acquisition closed, on October 28, 2022, each of the
 8 Plaintiffs submitted a notice to Twitter that he or she was resigning from
 9 employment at Twitter and specifically asserting that he or she had “Good Reason”
10 as defined under the Plan to terminate his or her employment, since Twitter was no
11 longer a publicly traded company, which constituted a “material adverse change”
12 under the Plan.
13         68.   Although each Plaintiff recognized that Twitter could not conceivably
14 cure the “material adverse change” underlying the Good Reason in light of the
15 acquisition, they each reiterated their willingness, on a voluntary basis, to remain
16 employed for a mutually agreeable period to allow for a smooth transition of their
17 responsibilities.
18         69.   Neither Mr. Musk nor anyone else at the Company acknowledged
19 receipt of these resignation notices, nor did they engage Plaintiffs’ assistance in
20 transitioning their work to new management.
21 F.      Twitter’s Requests for Participation in a Purported Internal
           Investigation, Counterproductive Shut Out, and Purported Termination
22         of Plaintiffs
23         70.   On October 29, 2022, Mr. Musk sent Ms. Personette and Ms. Brand
24 each a letter requesting that they provide documents that might be in their
25 possession and asked to schedule a time for each to be interviewed by counsel in
26 connection with a pending investigation into “a number of subjects” in which the
27 only subject specified was the termination of and payments to a former employee
28 following his termination (the “October 29 Letters”).

                                              15                          Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1     Filed 09/05/24   Page 17 of 43




 1         71.   The former employee referenced, a Mr. Zatko, was not on Ms.
 2 Personette’s or Ms. Brand’s team, and they had no managerial purview over him.
 3         72.   The October 29 Letters advised Ms. Personette and Ms. Brand that
 4 Twitter believed they may have relevant information regarding some or all of these
 5 subjects and presumed that each continued to be a Twitter employee, stating “we
 6 will assume your availability during working hours.”
 7         73.   The October 29 Letters also explicitly stated that “no one has accused
 8 you personally of any wrongdoing, the Company just wants to learn the information
 9 you have.” Both Plaintiffs expressed their willingness to participate in the
10 investigation.
11         74.   However, on October 31, 2022, Twitter abruptly shut all three Plaintiffs
12 out of the office and removed their access to all Twitter systems, including email,
13 calendars, and document systems to which they would need access in order to
14 respond fully and completely to interview questions in the course of a purported
15 internal investigation and to continue to assist in the transition of their work to new
16 management.
17         75.   Contradictorily, on November 2, 2022, Twitter asserted via emails to
18 each of the Plaintiffs from Kathleen Pacini that each Plaintiff remained a Twitter
19 employee “until November 27, 2022,” implying that the last day of active
20 employment would be November 26, 2022.
21         76.   Ms. Pacini’s email to Mr. Sullivan did not mention participation in an
22 investigation and requested only that he make himself available for discussions
23 “regarding [his] role and transitioning key functions [he] oversaw” and that he
24 “prepare a summary of all of [his] current projects and the Company stakeholders
25 associated with such projects.”
26         77.   Twitter continued to treat each Plaintiff as a discharged employee after
27 October 31, 2022; Twitter did not rescind or remedy its lock-out of Plaintiffs from
28 the Twitter office or accounts. Twitter also failed to pay each Plaintiff the salary

                                              16                          Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1     Filed 09/05/24   Page 18 of 43




 1 and benefits they had received as employees, including but not limited to payment
 2 of each Plaintiff’s November 1, 2022 vesting of equity, which upon information and
 3 belief was provided to all employees other than Plaintiffs, and salary for the
 4 November 14, 2022 and November 28, 2022 pay periods.
 5         78.   Upon information and belief, human resources staff at the Company
 6 were instructed to terminate Plaintiffs’ employment from October 31, 2022.
 7         79.   Ms. Brand and Ms. Personette continued to communicate their
 8 willingness to participate in the internal investigation. At the same time, Twitter
 9 continued to communicate that it was in the process of providing salary and benefits
10 and was also preparing separation agreements for Ms. Brand and Ms. Personette in
11 which they would be provided with their severance benefits under the Plan.
12         80.   On November 17, 2022, Ms. Pacini for the first time reached out to Mr.
13 Sullivan to request his availability to participate in a one hour Zoom with “Company
14 counsel” between November 17 and 22 to “assist with their investigation into
15 potential misconduct by the Company’s board, certain executives, and advisors.”
16 Ms. Pacini’s email did not state that Mr. Sullivan was accused of or being
17 investigated for any misconduct personally.
18         81.   On November 17, 2022, Twitter also for the first time requested a
19 forensic collection of all three Plaintiffs’ personal cellular phones.
20         82.   On November 19, 2022, Twitter’s outside counsel emailed Plaintiffs’
21 counsel stating that Twitter would provide Plaintiffs with their severance
22 agreements once Twitter had completed its interview and phone collection, and
23 asked for the interview times to be scheduled early the next week or “after the
24 [Thanksgiving] holiday if you and your clients prefer.” Plaintiffs were advised that
25 “iPhone collection” could be accomplished remotely, “or we can arrange for in-
26 person collection of android phones either next week or after the holiday.”
27         83.   Plaintiffs offered to make themselves available after the Thanksgiving
28 holiday, which was then just two days away.

                                               17                           Case No. 3:24-cv-6266
                                           COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1     Filed 09/05/24   Page 19 of 43




 1         84.   Despite: (a) Twitter’s counsel’s express recognition of Plaintiffs’ rights
 2 to payment under the Plan following their resignation; (b) Twitter’s explicit
 3 statement that “no one [had] accused [them] personally of any wrongdoing”; (c) the
 4 inability of Plaintiffs to take any action with respect to Twitter once they were
 5 locked out as of November 1, 2022; (d) Twitter’s communication that interviews
 6 and phone collection could take place after the holiday; and (e) the failure of the
 7 Company in the interim to raise any claimed misconduct, late on Sunday evening on
 8 Thanksgiving weekend, November 27, 2022, Twitter sent each Plaintiff a notice
 9 signed by Mr. Musk stating that his or her employment with Twitter had been
10 terminated for “Cause” under the Plan (the “November 27 Notices”).
11         85.   Notably, the November 27 Notices were sent mere hours before the
12 expiration of the 30-day notice and cure period following Plaintiffs’ resignation for
13 Good Reason, yet after Twitter’s own selected end date for each Plaintiff’s
14 employment, which it stated would continue “until” November 27, 2022.
15         86.   No detail or specific grounds were provided in the November 27
16 Notices other than a rote recitation of policy language:
17         [Y]ou have engaged in conduct that constitutes Cause within the
           meaning of the Policy, including, but not limited to, prongs (c) (an
18         uncurable “failure to comply with the Company’s written policies or
           rules, including its code of conduct”), (e) (“your gross negligence or
19         willful misconduct in the performance of your duties”), and (g) (“your
           failure to cooperate in good faith with a governmental or internal
20         investigation of the Company or its directors, officers or employees, if
           the Company has requested your cooperation”).
21
22         87.   In light of Twitter’s inconsistent and counterproductive conduct over
23 the preceding weeks and its fact-bare recitation of Plan definitions, this after-the-fact
24 purported termination for “Cause” was nothing more than Twitter’s bad faith,
25 pretextual attempt to deny Plaintiffs benefits to which they are entitled pursuant to
26 the Plan.
27         88.   No further efforts were ever made by Twitter to follow up with any of
28 the Plaintiffs regarding their participation in an interview, even though Twitter’s

                                               18                         Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1    Filed 09/05/24   Page 20 of 43




 1 counsel himself had proposed that the interview proceed in the week following
 2 Thanksgiving.
 3         89.   No further attempts were made to collect Plaintiffs’ personal devices,
 4 although that issue was also deferred at the behest of Twitter’s counsel until the
 5 week after the purported “Cause” determination and termination notice.
 6 G.      The Denial of Plaintiffs’ Claims Based on False and Shifting Reasons
 7         90.   Plaintiffs each submitted a Claim on December 16, 2022 (collectively,
 8 the “Claims”), demanding all compensation and benefits due to them under the Plan,
 9 including but not limited to severance benefits consisting of vesting of 50% of
10 unvested RSUs, cash severance in the amount of 12 months of their most recent
11 base salaries, and 12 months of COBRA benefits.
12         91.   The Claims articulated the grounds for each Plaintiff’s entitlement to
13 benefits under the Plan, recounting the above facts since the Change of Control
14 period commenced, and denying any misconduct or other activity that might
15 constitute “Cause,” and reiterating the request that a severance agreement and
16 release be promptly provided, as previously promised.
17         92.   The Claims demanded all documents pursuant to which the Plan is
18 established or operated, copies of Plaintiffs’ personnel files and records relating
19 performance or to any grievance concerning them, including the basis for their
20 purported “Cause” termination, and payroll records.
21         93.   The Claims advised Twitter that Plaintiffs remained in possession of
22 certain Company property, namely laptop computers, and were awaiting instructions
23 from Twitter as to how to return them.
24         94.   On April 11, 2023, Ms. Chapman sent emails to Plaintiffs’ counsel
25 attaching letters and zip files containing a partial production of documents
26 purportedly in response to the document requests in each of the Claims.
27         95.   The productions comprised only the Plan documents, participation
28 agreements, offer and position letters, and equity grant agreements. Thus, the Plan

                                              19                          Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1    Filed 09/05/24    Page 21 of 43




 1 is the sole instrument pursuant to which the Plan is established and maintained. Ms.
 2 Chapman denied knowledge of any internal procedures regarding the claims process
 3 for the Plan. The letter ignored Plaintiffs’ demand for records of their purported
 4 termination for “Cause.” Upon information and belief, such records do not exist.
 5         96.   Ms. Chapman’s letters stated that “I – Lindsay Chapman – am the
 6 person currently acting as the Administrator of the Plan” but did not provide any
 7 other documents identifying her as the Administrator.
 8         97.   On June 14, 2023, Ms. Chapman sent another round of letters on behalf
 9 of the Company denying Plaintiffs’ Claims (collectively, the “Denials” or “Claim
10 Denials”) purportedly upon a determination that there were grounds for the
11 Company to terminate Plaintiffs’ employment for Cause.
12         98.   In the Denials, Twitter acknowledged that Plaintiffs were each Eligible
13 Employees under the Plan and that they were terminated during a Change of Control
14 Period. Among other rationales that the plain language of the Plan and merger
15 documents refuted on their face, it purported to deny Plaintiffs’ entitlement to
16 benefits under the Plan on the grounds that: a) their “Good Reason” resignation was
17 not timely because Twitter terminated them, despite the fact that Twitter had already
18 told them their resignations were effective; and b) even if they had already resigned,
19 Mr. Musk could still terminate them for Cause due to their “failure to cooperate with
20 the investigation,” their failure to turn over their personal mobile devices “in order
21 to assist the Company with an internal investigation,” and for “gross negligence and
22 willful misconduct in the performance of [their] duties.” Ms. Chapman also asserted
23 that the Board had “clarified” that the Plan did not allow for any acceleration of
24 time-based vesting of equity, despite the Plan plainly stating otherwise.
25         99.   In support of its Denials, Twitter contended that it did not cease to be a
26 publicly traded company until it was de-listed from the NYSE on November 8, 2022
27 or dissolved the Board. However, in a Form 8-K filing with the SEC, Twitter stated
28 that “on October 27, 2022 and as a result of the consummation of the Merger, Mr.

                                              20                          Case No. 3:24-cv-6266
                                          COMPLAINT
         Case 3:24-cv-06266-JSC     Document 1     Filed 09/05/24   Page 22 of 43




 1 Musk became the sole director of Twitter” thus indicating that Twitter regarded
 2 itself as no longer publicly traded on October 27, 2022.
 3            100. The Denials also alleged that Plaintiffs’ “failure to participate in the
 4 investigation” including by sitting for interviews and by producing personal phones
 5 for forensic collection rose to the level of “Cause.” To the contrary, Plaintiff
 6 Sullivan was not even approached to participate until November 17, 2022 and the
 7 issue of phone collection was not raised for any Plaintiff until that date. Plaintiffs
 8 continued to express their willingness to participate, and Twitter indicated that dates
 9 after Thanksgiving were acceptable for all Plaintiffs for both interviews and phone
10 collection. Twitter also continued to rely on Plaintiffs’ status as Twitter employees
11 during this period, while in all other ways treating them as discharged employees,
12 locking them out of the office and failing to pay them while making representations
13 that payment and benefits, including severance benefits, would be paid shortly.
14 Twitter also made no efforts subsequent to November 27, 2022 to collect Plaintiffs’
15 company-owned computers, except that Twitter instigated collection of Mr.
16 Sullivan’s computers via text message on January 31, 2023, and he returned the
17 devices via FedEx on February 6, 2023. Twitter made no efforts to collect
18 Plaintiffs’ personal mobile devices although upon information and belief the
19 investigation remained ongoing.
20            101. Upon information and belief, Twitter also denied benefits to a similar
21 executive who did participate in the investigation and appear for an interview,
22 indicating that this purported basis for the Denials was in fact a sham.
23            102. To the extent that the Denials assert “gross negligence and willful
24 misconduct in the performance of [their] duties”3 as a final basis for Cause, such
25 assertion has no factual basis, and is merely a pretext to deny rightfully earned
26
27   3
    To the extent that Twitter produced Plaintiffs’ personnel files, such files contained
28 no record or complaint of poor performance, gross negligence or willful misconduct.

                                                  21                          Case No. 3:24-cv-6266
                                             COMPLAINT
         Case 3:24-cv-06266-JSC    Document 1     Filed 09/05/24   Page 23 of 43




 1 benefits.
 2            103. While first asserting a number of bases that it was later forced to
 3 abandon as they were patently unsupportable,4 Twitter eventually reduced its
 4 grounds to a single allegation that each Plaintiff wrongfully issued retention bonuses
 5 to key employees that Twitter now asserts were “outside the ordinary course” and
 6 thus constituted “corporate waste” even though they were in accordance with the
 7 budgets set by higher-level executives in the ordinary course of business to retain
 8 key employees, and were approved by the Board.
 9            104. To the extent that Plaintiffs specifically requested production of
10 documents with respect to allegations of corporate waste and cost cutting, Twitter
11 refused to produce such documents, claiming that they were not “submitted,
12 considered or generated in the course of making the benefit determination.” To the
13 extent that these documents were relied upon as a basis for concluding that Plaintiffs
14 were terminated for cause within the meaning of the Plan, they should have been
15 produced.
16            105. While not providing documents or support for this contention, this
17 premise for “Cause” is also pretextual and devoid of evidence as Twitter was well
18 aware that any bonuses provided were immaterial, were made in the ordinary course
19 and with approval of executives and the Board, and were in fact necessary in order
20 to provide Mr. Musk with a working and effective company, product and
21 engineering team at a time when staff were resigning from Twitter at a substantial
22 rate and executives including Plaintiffs were aware that Mr. Musk had previously
23 objected in legal filings to Twitter allowing key staff to leave.
24
25   4
     For example, Twitter later dropped its allegations that Plaintiffs failed to prevent
26 certain kinds of wasteful overspending on headcount, real estate, fringe benefits and
   contractor expenses that took place in departments for which they had no decision-
27 making authority, or which occurred during periods of time in which some were not
28 in decision making or roles or were not even employed by the Company.

                                                 22                         Case No. 3:24-cv-6266
                                             COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1     Filed 09/05/24   Page 24 of 43




 1 H.      Plaintiffs Timely Appealed the Improper Denial of Their Claims
 2         106. On November 7, 2023, Plaintiffs submitted timely requests for review
 3 of the Denials to the self-designated “Twitter Severance Administration Committee”
 4 (the “Committee”) (collectively the “Appeals”). The Appeals were accompanied by
 5 supporting documentary evidence, which refuted each of Twitter’s purported bases
 6 for denying Plaintiffs’ Claims. Each Plaintiff also renewed their request for relevant
 7 documents including with respect to cost cutting activities and objected to the denial
 8 of their requests for documents.
 9         107. The Appeals and supporting documents established that at all times,
10 Plaintiffs’ authorization of retention bonuses was authorized by the Board in the
11 ordinary course of business, was consistent with past practices and therefore
12 compliant with the Merger Agreement and was issued for the critical purpose of
13 retaining key employees through a turbulent transition. In addition, the Appeals
14 refuted incorrect interpretations of the Plan, the Merger Agreement, and various
15 related documents (including contending, without support, that the Merger
16 Agreement disallowed any accelerated vesting of equity, despite Twitter’s own
17 proxy statement informing shareholders that such accelerated vesting was allowed),
18 and flatly disproved the claim that Plaintiffs had engaged in any sort of corporate
19 waste or fraud (an assertion with which Twitter has now abandoned) including by
20 the lack of any negative feedback in Plaintiffs’ personnel files.
21         108. The Appeals and supporting documents also established that Plaintiffs
22 had timely resigned for Good Reason, had at all times fully indicated a good faith
23 willingness to participate in the investigation despite Twitter’s manipulative and
24 self-serving designation of them as employees in order to mandate participation in
25 the investigation but not paying them or otherwise treating them like employees,
26 that Twitter denied the claim of an executive who did participate in the same
27 investigation suggesting that this is not a sufficient ground to deny benefits, that
28 Twitter had only just asked for turnover of Plaintiffs’ personal phones which

                                              23                          Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC     Document 1     Filed 09/05/24   Page 25 of 43




 1 Plaintiffs were scheduling to provide after reaching agreement on certain personal
 2 data protections, and that Twitter at or around that time clearly communicated that it
 3 was not accusing Plaintiffs of any misconduct or wrongdoing but was rather actively
 4 preparing documents to pay severance benefits under the Plan. Twitter accused
 5 Plaintiffs of evasive activity and of trying to “run down the clock” when in fact that
 6 is exactly what Twitter had been doing.
 7 I.     The Committee’s Denial of Plaintiffs’ Appeals on Changing Grounds
 8        109. On information and belief, the purported Committee was comprised of
 9 Ms. Chapman, Mr. Bjelde, Mr. Batura, and other current or former members, all of
10 whom are currently or were recently employed by Mr. Musk’s other companies. On
11 information and belief, the Committee and each of its members were at all relevant
12 times acting in the financial interests of X Corp. and Mr. Musk.
13        110. On March 6, 2023, the Committee denied Plaintiffs’ request for review
14 (collectively the “Appeal Denials”).
15        111. In reviewing each of the Plaintiffs’ Appeals of their improperly denied
16 Claims, the purported Committee echoed many of the unfounded claims of the
17 previous denials, dropped other claims for which they admitted no basis existed, and
18 in addition included new grounds that had not been contained in the Claims Denials
19 and for which Plaintiffs were not provided an opportunity to respond or submit
20 evidence.
21        112. Apparently unable to find any evidence to retroactively bolster the
22 Claim Denials, the purported Committee abandoned in the Appeal Denials the
23 argument that Plaintiffs were grossly negligent or otherwise culpable for alleged
24 corporate waste based on the alleged company-wide spending increases, which it
25 was forced to admit occurred before Plaintiffs became members of Staff. The
26 purported Committee concluded this was not a basis to terminate Plaintiffs for
27 Cause.
28        113. As in the Claim Denials, in the Appeal Denials the purported

                                             24                          Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC     Document 1     Filed 09/05/24   Page 26 of 43




 1 Committee concluded that Cause existed because Plaintiffs failed to cooperate in an
 2 internal Company investigation, ignoring the fact that the Company had shut them
 3 out of all systems, thus impeding their ability to meaningfully contribute, that
 4 Plaintiffs demonstrated a continued willingness to assist in a fair investigation
 5 despite mounting signs of the Company’s bad faith, and ignoring the fact that
 6 Plaintiffs relied on the assurances of the Company’s own counsel that the separation
 7 agreements and releases would be ready imminently, and that they would be able to
 8 sit for their interviews after the Thanksgiving weekend in late November 2022. The
 9 purported Committee incorrectly found that Plaintiffs were conditioning or
10 leveraging their cooperation on a receipt of benefits, when instead, the record clearly
11 shows that they were willing to participate in a reasonable investigation throughout,
12 and only requested what the Company had already promised as a show of good faith
13 in the face of increasingly alarming and contradictory actions.
14        114. The purported Committee also wrongfully concluded that Plaintiffs’
15 continued “refusal to provide [their phones] for forensic collection” was not capable
16 of cure despite the fact that Plaintiffs were engaging in conversations about how to
17 do so, based on the factually inaccurate premise that Plaintiffs “knew for far more
18 than 30 days that Company sought access” to their phones when in fact the request
19 had first been made on November 17, 2022 and the purported terminations occurred
20 on November 27, 2022 at the conclusion of a four day national holiday.
21        115. The purported Committee also continued the erroneous arguments from
22 the Claims Denials that Plaintiffs engaged in gross negligence or willful misconduct
23 based on reasonable and not materially significant retention bonuses that had been
24 provided in the normal course and with Board approval.
25        116. The purported Committee further demonstrated its bias and bad faith by
26 including new arguments in the Appeal Denials for which Plaintiffs had not been
27 provided an opportunity to respond, including that the brief delay in returning their
28 phones was a separate “Cause” event because confidentiality agreements and

                                              25                         Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC     Document 1     Filed 09/05/24   Page 27 of 43




 1 privacy policies allowed employees to conduct Company business on certain
 2 applications like Google Workspace and Slack, but the Committee had concluded,
 3 based solely on the Plaintiffs’ attempts to discuss alternate ways to provide the
 4 requested data, that Plaintiffs must have been conducting Company business in
 5 “other ways including by text message” that were not permitted and that had caused
 6 the Company to “lose trust.”
 7         117. The purported Committee also added additional arguments with respect
 8 to Ms. Brand and Mr. Sullivan, including that Ms. Brand wrongfully proposed to the
 9 Compensation Committee of the Board that she and other executives be added to the
10 Plan during the Merger Period, and that she and Mr. Sullivan engaged in misconduct
11 by signing an agreement to participate in the Plan.
12         118. These additional allegations misstate the facts and are transparent
13 efforts to bolster the Company’s weak arguments.
14         119. The premise that Plaintiffs’ attempt to negotiate commonplace
15 protections for their personal data while simultaneously cooperating with requests
16 for forensic examination is the flimsiest possible basis for determining that skilled
17 and successful executives must be engaging in the destruction of evidence or that
18 they must have been improperly communicating via non-sanctioned methods such
19 as text message. That the Company did not even bother to collect phones or laptop
20 computers post-termination also suggests that this explanation was pretextual.
21         120. Nor did Plaintiffs engage in any misconduct by signing their Plan
22 Participation Agreements, which had been made available to the employees who
23 previously held the same titles/positions and which were approved by the
24 Compensation Committee of the Board in the ordinary course of business and
25 consistent with prior practice.
26 J.      The Appeal Denials Fail to Apply the Plan’s Written Terms with Respect
           to the Acceleration of Equity
27
28         121. The Plan expressly provides for the acceleration of equity in the event

                                              26                         Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1     Filed 09/05/24   Page 28 of 43




 1 of a COC Qualified Termination. Specifically, the Plan provides that as part of the
 2 severance benefits owed to Plaintiffs, each will be entitled to “a percentage set forth
 3 on your Participation Agreement of the then-unvested shares subject to each of your
 4 then-outstanding equity awards shall immediately vest and, in the case of options
 5 and stock appreciation rights, shall become exercisable . . . .” Each of the Plaintiffs’
 6 Participation Agreements provides that their equity vesting acceleration benefit
 7 percentage is 50%.
 8         122. During the course of their employment with Twitter, Plaintiffs were
 9 granted equity awards in the form of both Restricted Stock Units (“RSUs”) and
10 Performance-Based Restricted Stock Units (“PSUs”). The RSUs vested solely
11 through the passage of time, contingent upon continued employment through each
12 vesting date and subject to additional provisions that accelerate vesting in the event
13 of certain types of terminations of employment. The PSUs vested both upon the
14 achievement of performance criteria and through the passage of time, contingent
15 upon continued employment through each vesting date and subject to vesting
16 acceleration provisions in the event of certain types of terminations of employment.
17         123. Both the PSU and RSU Award Agreements explicitly contemplate
18 other documents that could affect accelerated vesting, which would supersede the
19 standard vesting schedule under certain circumstances, such as a COC Qualified
20 Termination under the Plan. Each of the Award Agreements also explicitly provide
21 that the awards will be subject to any vesting acceleration provisions contained in
22 such documents.
23 K.      The Merger Agreement
24         124. On April 25, 2022, Twitter entered into a Merger Agreement pursuant
25 to which it was to be acquired by X Holdings I, Inc. and X Holdings II, Inc.
26         125. Section 3.6(b)(ii) of the Merger Agreement addressed the treatment of
27 the PSUs in the merger and provided as follows:
28         As of the Effective Time, each Company PSU that is outstanding

                                              27                          Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC       Document 1       Filed 09/05/24    Page 29 of 43




 1        immediately prior thereto and that is not a Vested Company PSU (each,
          an “Unvested Company PSU”) shall be canceled and converted into the
 2        right to receive an amount in cash, without interest, equal to the product
          of (i) the total number of shares of Company Common Stock subject to
 3        such Unvested Company PSU based on the achievement of the applicable
          performance metrics at the target level of performance and (ii) the Merger
 4        Consideration (the “Unvested PSU Consideration”). Subject to the
          holder’s continued service with Parent and its Affiliates (including the
 5        Surviving Corporation and its Subsidiaries) through the applicable
          vesting dates, such Unvested PSU Consideration will vest and become
 6        payable at the same time as the Unvested Company PSU from which [it]
          was converted would have vested and been payable pursuant to its terms and
 7        shall otherwise remain subject to the same terms and conditions as were applicable
          to the underlying Unvested Company PSU immediately prior to the Effective Time
 8        (except that performance-based vesting metrics and criteria shall not
          apply from and after the Effective Time). (Emphasis added).
 9
10        126. Similarly, Section 3.6(d)(ii) of the Merger Agreement addressed the
11 treatment of the RSUs in the merger and provided as follows:
12        As of the Effective Time, each Company RSU that is outstanding
          immediately prior thereto and that is not a Vested Company RSU (each,
13        an “Unvested Company RSU”) shall be canceled and converted into the
          right to receive an amount in cash, without interest, equal to the product
14        of (i) the total number of shares of Company Common Stock subject to
          such Unvested Company RSU and (ii) the Merger Consideration (the
15        “Unvested RSU Consideration”). Subject to the holder’s continued
          service with Parent and its Affiliates (including the Surviving
16        Corporation and its Subsidiaries) through the applicable vesting dates,
          such Unvested RSU Consideration will vest and become payable at the
17        same time as the Unvested Company RSU from which [it] was converted
          would have vested and been payable pursuant to its terms and shall otherwise
18        remain subject to the same terms and conditions as were applicable to the
          underlying Unvested Company RSU immediately prior to the Effective Time.”
19        (Emphasis added).
20        127. The effects of Sections 3.6(b)(ii) and 3.6(d)(ii) of the Merger
21 Agreement were to (1) convert the right to receive Twitter stock under the terms of
22 the PSUs and RSUs into a right to receive an equivalent amount of cash (for both)
23 that would then become vested on the same terms and conditions as were previously
24 applicable to the PSUs and RSUs; and (2) to deem the performance-based metrics
25 no longer applicable for the PSUs (meaning the PSUs would vest solely on the
26 passage of time and subject to acceleration in the same manner as the RSUs).
27 Outside of those two changes, the language made it clear that all other terms and
28 conditions of the awards—which include vesting acceleration provisions—were to

                                                 28                             Case No. 3:24-cv-6266
                                             COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1     Filed 09/05/24   Page 30 of 43




 1 remain unchanged.
 2         128. The Twitter Board of Directors approved the treatment of both the
 3 PSUs and the RSUs consistent with Sections 3.6(b)(ii) and 3.6(d)(ii) of the Merger
 4 Agreement in its April 25, 2022, board minutes.
 5 L.      The Proxy Statement
 6         129. On May 25, 2022, following the execution of the Merger Agreement,
 7 Twitter issued a proxy statement (the “Proxy Statement”). Saliently, with respect to
 8 the purpose of the Plan, the Proxy Statement states as follows:
 9         We believe that to properly motivate and incentivize our executive team
           in the event of a change of control and to the possibility of a termination
10         without ‘cause’ or a termination with ‘good reason,’ a standardized
           ‘double trigger’ change of control and severance policy is critical. Each
11         NEO [named executive officer] that remains employed with us
           participates in our Severance Policy, which provides standardized
12         payments and benefits to the NEOs in the event of a termination without
           ‘cause’ by us or termination for ‘good reason’ by the participant, whether
13         or not in connection with a change of control, to make these benefits
           consistent among the executives who have these arrangements.
14
15         This description makes it clear that Twitter considered it “critical” to have the
16 Plan in place.
17         130. The Proxy Statement contains a paragraph titled “Potential Payments
18 Upon Termination or Change of Control.” This paragraph describes the benefits that
19 are provided under the Plan to participants and states that one of the benefits
20 provided under the Plan is “acceleration of vesting of 50% . . . of the shares
21 underlying all of the NEO’s then-unvested equity awards if the Involuntary
22 Termination is in connection with a Change of Control.” This language tracks the
23 benefits that are described in Plaintiffs’ Participation Agreements with respect to
24 equity award vesting acceleration (50% vesting acceleration of all unvested equity
25 awards).
26         131. The Proxy Statement is Twitter’s official statement to investors and is
27 required by the SEC and securities laws to be true and accurate. Thus, it is notable
28 that in the Proxy Statement issued after the Merger Agreement was signed, Twitter’s

                                               29                          Case No. 3:24-cv-6266
                                           COMPLAINT
         Case 3:24-cv-06266-JSC    Document 1    Filed 09/05/24   Page 31 of 43




 1 interpretation of the Plan and the Participation Agreement was that the participants
 2 would receive accelerated equity vesting as part of their severance benefits. At no
 3 time did the Company act to modify, amend, or correct the statement notifying the
 4 shareholders (including the Plan participants) that the Plan provided for accelerated
 5 vesting of time-based equity awards.5
 6            132. Thus, the only reasonable interpretation of the Plan, the Equity Awards,
 7 the Merger Agreement, and the Proxy Statement, each of which acknowledges the
 8 existence of and are read consistently with the other documents, is that Plaintiffs are
 9 each entitled to 50% of their Unvested Equity. To the extent that now contend that
10 the Merger Agreement eliminated the right to accelerated vesting of equity, that
11 decision is plainly wrong.
12 M.         Twitter Failed to Pay Plaintiffs Their Vested Equity Awards on
              November 1, 2022 While They Were Still Employed at Twitter.
13
14            133. Under the terms of their various equity agreements, including the
15 Award Agreements, Plaintiffs’ equity continued to vest while they were still
16 employed. By the Company’s own admission, each of the Plaintiffs was still an
17 employee on November 1, 2022. However, Twitter failed to vest (and pay) the
18 shares that were due to vest on that date. Twitter’s failure to vest these shares
19 breached each of the Equity Agreements.
20            (i)   Ms. Personette’s Unpaid Equity Vest While An Employee
21            134. On April 8, 2019, Ms. Personette and Twitter entered into a Restricted
22 Stock Unit Agreement, which granted Ms. Personette 23,498 Restricted Stock Units
23
     5
24     Twitter filed a similar Proxy Statement in September 2022 in advance of its
     September 13, 2022 shareholder meeting in which shareholders were asked to vote
25   on a proposal to adopt the Merger Agreement. The September 2022 Proxy
26   Statement similarly disclosed the severance benefits to which Plaintiffs and other
     executives would be entitled including the “acceleration of vesting of unvested
27   equity awards (with performance-based vesting deemed achieved at target levels as
28   to that percentage).”

                                                30                        Case No. 3:24-cv-6266
                                            COMPLAINT
         Case 3:24-cv-06266-JSC    Document 1    Filed 09/05/24   Page 32 of 43




 1 (RSUs) to vest quarterly beginning on February 1, 2021. The RSUs vested and were
 2 granted to Ms. Personette according to the schedule of 1,958 RSUs on each of the
 3 first four quarterly vests: February 1, 2021, May 1, 2021, August 1, 2021,
 4 November 1, 2021, followed by 3,916 RSUs on each of February 1, 2022, May 1,
 5 2022, and August 1, 2022. On November 1, 2022, another 3,917 RSUs were due to
 6 vest, but Twitter failed to vest this tranche, notwithstanding that Ms. Personette
 7 remained a current employee on November 1, 2022, as Twitter admits. Pursuant to
 8 the Merger Agreement, Twitter was to pay out RSUs at $54.20/share. Thus, Twitter
 9 failed to pay Ms. Personette $212,301.40 under this agreement.6
10            135. On April 12, 2020, Ms. Personette and Twitter entered into a Restricted
11 Stock Unit Agreement, which granted Ms. Personette 202,038 RSUs to vest
12 quarterly beginning on May 1, 2020. The RSUs vested and were granted to Ms.
13 Personette according to the schedule of either 12,627 or 12,628 RSUs on each of
14 following quarterly vests: May 1, 2020, August 1, 2020, November 1, 2020,
15 February 1, 2021, May 1, 2021, August 1, 2021, November 1, 2021, February 1,
16 2022, May 1, 2022, and August 1, 2022. On November 1, 2022, another 12,628
17 RSUs were due to vest, but Twitter failed to vest this tranche, notwithstanding that
18 Ms. Personette remained a current employee on November 1, 2022, as Twitter
19 admits. Pursuant to the Merger Agreement, Twitter was to pay out RSUs at
20 $54.20/share. Thus, Twitter failed to pay Ms. Personette $684,437.60 under this
21 agreement.
22            136. On April 8, 2021, Ms. Personette and Twitter entered into a Restricted
23 Stock Unit Agreement, which granted Ms. Personette 101,185 RSUs to vest
24 quarterly beginning on May 1, 2021. The RSUs vested and were granted to Ms.
25 Personette according to the schedule of 6,324 RSUs on each of the following
26
27   6
    All valuations are based on Plaintiffs’ knowledge and belief and are subject to
28 proof.

                                                31                        Case No. 3:24-cv-6266
                                            COMPLAINT
     Case 3:24-cv-06266-JSC     Document 1     Filed 09/05/24   Page 33 of 43




 1 quarterly vests: May 1, 2021, August 1, 2021, November 1, 2021, February 1, 2022,
 2 May 1, 2022, and August 1, 2022. On November 1, 2022, another 6,324 RSUs were
 3 due to vest, but Twitter failed to vest this tranche, notwithstanding that Ms.
 4 Personette remained a current employee on November 1, 2022, as Twitter admits.
 5 Pursuant to the Merger Agreement, Twitter was to pay out RSUs at $54.20/share.
 6 Thus, Twitter failed to pay Ms. Personette $342,760.80 under this agreement.
 7        137. On September 1, 2021, Ms. Personette and Twitter entered into a
 8 Restricted Stock Unit Agreement, which granted Ms. Personette 5,802 Restricted
 9 Stock Units (RSUs) to vest quarterly beginning on November 1, 2021. The RSUs
10 vested and were granted to Ms. Personette according to the schedule of 362 RSUs
11 on each of quarterly vest: November 1, 2021, February 1, 2022, May 1, 2022, and
12 August 1, 2022. On November 1, 2022, another 363 RSUs were due to vest, but
13 Twitter failed to vest this tranche, notwithstanding that Ms. Personette remained a
14 current employee on November 1, 2022, as Twitter admits. Pursuant to the Merger
15 Agreement, Twitter was to pay out RSUs at $54.20/share. Thus, Twitter failed to
16 pay Ms. Personette $19,674.60 under this agreement.
17        138. On April 13, 2022, Ms. Personette and Twitter entered into a Restricted
18 Stock Unit Agreement, which granted Ms. Personette 110,865 RSUs to vest
19 quarterly beginning on May 1, 2022. The RSUs vested and were granted to Ms.
20 Personette according to the schedule of 6,929 RSUs on each of the following
21 quarterly vests: May 1, 2022 and August 1, 2022. On November 1, 2022, another
22 6,929 RSUs were due to vest, but Twitter failed to vest this tranche, notwithstanding
23 that Ms. Personette remained a current employee on November 1, 2022, as Twitter
24 admits. Pursuant to the Merger Agreement, Twitter was to pay out RSUs at
25 $54.20/share. Thus, Twitter failed to pay Ms. Personette $375,551.80 under this
26 agreement.
27        (ii)   Mr. Sullivan’s Unpaid Equity Vest While an Employee
28        139. On March 22, 2022, Mr. Sullivan and Twitter entered into a Restricted

                                              32                         Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC     Document 1     Filed 09/05/24   Page 34 of 43




 1 Stock Unit Agreement, which granted Mr. Sullivan 125,945 Restricted Stock Units
 2 (RSUs) to vest quarterly beginning on May 1, 2022. The RSUs vested and were
 3 granted to Mr. Sullivan according to the schedule of 7,871 RSUs on May 1, 2022
 4 and August 1, 2022. On November 1, 2022, another 7,871 RSUs were due to vest,
 5 but Twitter failed to vest this tranche, notwithstanding that Mr. Sullivan remained a
 6 current employee on November 1, 2022, as Twitter admits. Pursuant to the Merger
 7 Agreement, Twitter was to pay out RSUs at $54.20/share. Thus, Twitter failed to
 8 pay Mr. Sullivan $426,608.20 under this agreement.
 9         140. On April 28, 2022, Mr. Sullivan and Twitter entered into a Restricted
10 Stock Unit Agreement, which granted Mr. Sullivan 6,930 RSUs to vest quarterly
11 beginning on May 1, 2022. The RSUs vested and were granted to Mr. Sullivan
12 according to the schedule of 433 RSUs on each of following quarterly vests: May 1,
13 2022, and August 1, 2022. On November 1, 2022, another 433 RSUs were due to
14 vest, but Twitter failed to vest this tranche, notwithstanding that Mr. Sullivan
15 remained a current employee on November 1, 2022, as Twitter admits. Pursuant to
16 the Merger Agreement, Twitter was to pay out RSUs at $54.20/share. Thus, Twitter
17 failed to pay Mr. Sullivan $23,468.60 under this agreement.
18         (iii)   Ms. Brand’s Unpaid Equity Vest While an Employee
19         141. On April 8, 2019, Ms. Brand and Twitter entered into a Restricted
20 Stock Unit Agreement, which granted Ms. Brand 86,821 Restricted Stock Units
21 (RSUs) to vest quarterly beginning on May 1, 2019. The RSUs vested and were
22 granted to Ms. Brand according to the schedule of 7,887 or 7,888 RSUs on each of
23 the first eight quarterly vests from May 1, 2019 through November 1, 2020,
24 followed by 4,937 RSUs on each of the next four quarterly vests from February 1,
25 2021 through November 1, 2021, followed by 2,964 or 2,965 on each of: February
26 1, 2022, May 1, 2022, and August 1, 2022. On November 1, 2022, another 2,965
27 RSUs were due to vest, but Twitter failed to vest this tranche, notwithstanding that
28 Ms. Brand remained a current employee on November 1, 2022, as Twitter admits.

                                              33                         Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC     Document 1    Filed 09/05/24   Page 35 of 43




 1 Pursuant to the Merger Agreement, Twitter was to pay out RSUs at $54.20/share.
 2 Thus, Twitter failed to pay Ms. Brand $160,703.00 under this agreement.
 3        142. On April 12, 2020, Ms. Brand and Twitter entered into a Restricted
 4 Stock Unit Agreement, which granted Ms. Brand 47,435 RSUs to vest quarterly
 5 beginning on May 1, 2020. The RSUs vested and were granted to Ms. Brand
 6 according to the schedule of either 2,964 or 2,965 RSUs on each of following
 7 quarterly vests: May 1, 2020, August 1, 2020, November 1, 2020, February 1, 2021,
 8 May 1, 2021, August 1, 2021, November 1, 2021, February 1, 2022, May 1, 2022,
 9 and August 1, 2022. On November 1, 2022, another 2,965 RSUs were due to vest,
10 but Twitter failed to vest this tranche, notwithstanding that Ms. Brand remained a
11 current employee on November 1, 2022, as Twitter admits. Pursuant to the Merger
12 Agreement, Twitter was to pay out RSUs at $54.20/share. Thus, Twitter failed to
13 pay Ms. Brand $160,648.80 under this agreement.
14        143. On October 17, 2020, Ms. Brand and Twitter entered into a Restricted
15 Stock Unit Agreement, which granted Ms. Brand 31,485 RSUs to vest quarterly
16 beginning on November 1, 2020. The RSUs vested and were granted to Ms. Brand
17 according to the schedule of 1,967 or 1,968 RSUs on each of the following quarterly
18 vests: November 1, 2020, February 1, 2021, May 1, 2021, August 1, 2021,
19 November 1, 2021, February 1, 2022, May 1, 2022, and August 1, 2022. On
20 November 1, 2022, another 1,968 RSUs were due to vest, but Twitter failed to vest
21 this tranche, notwithstanding that Ms. Brand remained a current employee on
22 November 1, 2022, as Twitter admits. Pursuant to the Merger Agreement, Twitter
23 was to pay out RSUs at $54.20/share. Thus, Twitter failed to pay Ms. Brand
24 $107,059.20 under this agreement.
25        144. On April 8, 2021, Ms. Brand and Twitter entered into a Restricted
26 Stock Unit Agreement, which granted Ms. Brand 20,237 RSUs to vest quarterly
27 beginning on May 1, 2021. The RSUs vested and were granted to Ms. Brand
28 according to the schedule of 1,264 or 1,265 RSUs quarterly between May 1, 2021

                                             34                        Case No. 3:24-cv-6266
                                         COMPLAINT
     Case 3:24-cv-06266-JSC     Document 1    Filed 09/05/24   Page 36 of 43




 1 and August 1, 2022. On November 1, 2022, another 1,265 RSUs were due to vest,
 2 but Twitter failed to vest this tranche, notwithstanding that Ms. Brand remained a
 3 current employee on November 1, 2022, as Twitter admits. Pursuant to the Merger
 4 Agreement, Twitter was to pay out RSUs at $54.20/share. Thus, Twitter failed to
 5 pay Ms. Brand $68,816.00 under this agreement.
 6        145. On December 14, 2021, Ms. Brand and Twitter entered into a
 7 Restricted Stock Unit Agreement, which granted Ms. Brand 64,015 RSUs to vest
 8 quarterly beginning on February 1, 2022. The RSUs vested and were granted to Ms.
 9 Brand according to the schedule of 4,000 or 4,001 RSUs on each of the following
10 quarterly vests: February 1, 2022, May 1, 2022, and August 1, 2022. On November
11 1, 2022, another 4,001 RSUs were due to vest, but Twitter failed to vest this tranche,
12 notwithstanding that Ms. Brand remained a current employee on November 1, 2022,
13 as Twitter admits. Pursuant to the Merger Agreement, Twitter was to pay out RSUs
14 at $54.20/share. Thus, Twitter failed to pay Ms. Brand $217,654.40 under this
15 agreement.
16        146. On April 13, 2022, Ms. Brand and Twitter entered into a Restricted
17 Stock Unit Agreement, which granted Ms. Brand 6,930 RSUs to vest quarterly
18 beginning on May 1, 2022. The RSUs vested and were granted to Ms. Brand
19 according to the schedule of 43 RSUs quarterly between May 1, 2022 and August 1,
20 2022. On November 1, 2022, another 433 RSUs were due to vest, but Twitter failed
21 to vest this tranche, notwithstanding that Ms. Brand remained a current employee on
22 November 1, 2022, as Twitter admits. Pursuant to the Merger Agreement, Twitter
23 was to pay out RSUs at $54.20/share. Thus, Twitter failed to pay Ms. Brand
24 $23,555.20 under this agreement.
25                                   LEGAL CLAIMS
26                            FIRST CAUSE OF ACTION
                    (ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B))
27                    (Claim for Benefits) (Against All Defendants)
28        147. Plaintiffs re-allege and incorporate by reference each and every

                                             35                         Case No. 3:24-cv-6266
                                         COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1      Filed 09/05/24   Page 37 of 43




 1 paragraph above as though fully set forth herein.
 2         148. ERISA § 502(a)(1)(B), 29 U.S.C. § 1132(a)(1)(B), permits a plan
 3 participant to bring a civil action to recover benefits due to her under the terms of a
 4 plan, to enforce her rights under the terms of a plan, and/or to clarify her right to
 5 future benefits under the terms of a plan.
 6         149. Each of the Plaintiffs is entitled to benefits under the Plan.
 7         150. Defendants, and each of them, have violated, and continue to violate,
 8 the terms of the Plan and Plaintiffs’ rights thereunder. Defendants, and each of them,
 9 have failed to pay Plaintiffs benefits to which they are entitled under the terms of the
10 Plan.
11         151. Plaintiff Sarah Personette is entitled to severance benefits under the
12 terms of the Plan in the amount of no less than $17,605,325.30, plus interest, with
13 the precise amount to be proven at trial.
14         152. Plaintiff James (“Jay”) Sullivan is entitled to severance benefits under
15 the terms of the Plan in the amount of no less than $21,785,500.30, plus interest,
16 with the precise amount to be proven at trial.
17         153. Plaintiff Dalana Brand is entitled to severance benefits under the terms
18 of the Plan in the amount of no less than $13,964,359.00, plus interest, with the
19 precise amount to be proven at trial.
20                          SECOND CAUSE OF ACTION
      (Interference with Protected Rights in Violation of ERISA § 510, 29 U.S.C. §
21                                        1140
                     Against Defendants Elon Musk and X Corp.)
22
23         154. Plaintiffs re-allege and incorporate by reference each and every
24 paragraph above as though fully set forth herein.
25         155. ERISA § 510, 29 U.S.C. § 1140, provides that it is unlawful for any
26 person to “discharge, fine, suspend, expel, discipline, or discriminate against a
27 participant for exercising any right to which he is entitled under the provisions of an
28 employee benefit plan . . . or for the purpose of interfering with the attainment of

                                                36                         Case No. 3:24-cv-6266
                                           COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1     Filed 09/05/24   Page 38 of 43




 1 any right to which such participant may become entitled under the plan.”
 2        156. The Plan confers on participants the right to terminate employment for
 3 “Good Reason” in the event of “a material adverse change in the nature or scope of
 4 your authority, powers, functions, duties, responsibilities, or reporting relationship
 5 (including ceasing to directly report to the chief executive officer or board of
 6 directors of a publicly traded entity, as applicable).”
 7        157. The Plan provides that a participant may terminate employment for
 8 Good Reason by giving notice within 90 days after the participant has knowledge of
 9 an event constituting Good Reason, specifically identifying the event or
10 circumstance that constitutes Good Reason and allowing Twitter a 30-day “notice
11 and cure period.”
12        158. Each Plaintiff complied with the Plan’s requirements by providing
13 notice of Good Reason on October 28, 2022, specifically identifying the
14 consummation of the take-private transaction as the event constituting Good Reason
15 and acknowledging his or her availability to continue working during the 30-day
16 notice-and-cure period.
17        159. Twitter responded by cutting off each Plaintiff’s access to all Twitter
18 systems and informing each Plaintiff that he or she would be employed until
19 November 27, 2022 – that is, until the end of the 30-day notice-and-cure period.
20        160. On November 27, 2022, Twitter sent a notice of termination to each
21 Plaintiff, falsely claiming that the termination was for Cause.
22        161. Defendants Twitter and Musk retaliated against Plaintiffs for exercising
23 their rights under the Plan to provide notice of Good Reason, including by (1)
24 cutting off Plaintiffs’ access to Twitter systems during the notice-and-cure period;
25 (2) instructing Twitter’s human resources department to treat Plaintiffs as terminated
26 employees as of October 31, 2022; (3) purporting to preemptively terminate
27 Plaintiffs’ employment for cause on the last day of the notice-and-cure period; (4)
28 failing to pay Plaintiffs’ salaries and to make associated 401(k) matching

                                              37                          Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC       Document 1      Filed 09/05/24    Page 39 of 43




 1 contributions during the notice-and-cure period; (5) failing to pay Plaintiffs’ equity
 2 vest due November 1, 2022; and (6) related acts and omissions.
 3         162. In particular, as to Plaintiff Personette, Defendants Twitter and Musk
 4 failed to pay $50,000 in salary owed for the 30-day period, plus $1,634,726.20 in
 5 equity that vested November 1, 2022.
 6         163. As to Plaintiff Brand, Defendants Twitter and Musk failed to pay
 7 $50,000 in salary owed for the 30-day period, plus $738,436.60 in equity that vested
 8 November 1, 2022.
 9         164. As to Plaintiff Sullivan, Defendants Twitter and Musk failed to pay
10 $50,000 in salary owed for the 30-day period, plus $450,076.80 in equity that vested
11 November 1, 2022.
12         165. Defendants Twitter and Musk also interfered with Plaintiffs’ attainment
13 of rights under the Plan by purporting to preemptively terminate Plaintiffs’
14 employment for cause on the last day of the notice-and-cure period.
15         166. ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), permits a plan participant
16 to bring a suit to obtain appropriate equitable relief to enforce the provisions of Title
17 I of ERISA. Section 510 is part of Title I.
18         167. Plaintiffs are entitled to appropriate equitable relief from Defendants’
19 violations, including in the form of an order that Defendants Twitter and Musk
20 disgorge profits derived from their failure to pay salaries, equity, and Plan benefits;
21 that they be estopped from denying that Plaintiffs were employed and entitled to
22 salary and equity vesting from October 28 through November 27, 2022, and that
23 Plaintiffs are entitled to Plan benefits; that Plaintiffs are entitled to salary, equity,
24 and Plan benefits by reason of an equitable lien by agreement; and such other and
25 further equitable relief as the Court deems appropriate.
26                               THIRD CAUSE OF ACTION
                                    (Breach of Contract)
27                               (Against Defendant X Corp.)
28         168.    Plaintiffs re-allege and incorporate by reference each and every

                                                 38                           Case No. 3:24-cv-6266
                                            COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1     Filed 09/05/24    Page 40 of 43




 1 paragraph above as though fully set forth herein.
 2         169. Plaintiffs provided valuable consideration under their Award
 3 Agreements by continuing their employment with Twitter. Each of the Plaintiffs
 4 fully performed under the Award Agreements by remaining employed until their
 5 Good Reason resignation became effective on November 27, 2022 and otherwise
 6 complying with all other terms of the respective Award Agreements.
 7         170. Twitter breached each of the Award Agreements when it failed to
 8 compensate Plaintiffs as promised under the respective Award Agreements, by
 9 refusing to vest their November 1, 2022, equity tranches of RSUs without
10 justification.
11         171. As a result of Twitter’s breach of the respective equity agreements,
12 Plaintiff Sarah Personette is entitled to specific performance or damages of no less
13 than: $1,634,726.20 or according to proof, plus interest at the applicable rate.
14         172. As a result of Twitter’s breach of the respective equity agreements,
15 Plaintiff James Sullivan is entitled to specific performance or damages of no less
16 than: $450,076.80 or according to proof, plus interest at the applicable rate.
17         173. As a result of Twitter’s breach of the respective equity agreements,
18 Plaintiff Dalana Brand is entitled to specific performance or damages of no less
19 than: $738,436.60 or according to proof, plus interest at the applicable rate.
20                          FOURTH CAUSE OF ACTION
            (Breach of the Implied Covenant of Good Faith and Fair Dealing)
21                            (Against Defendant X Corp.)
22         174. Plaintiffs re-allege and incorporate by reference each and every
23 paragraph above as though fully set forth herein.
24         175.     The respective Award Agreements contain an implied covenant of
25 good faith and fair dealing, which prohibits either party from acting in a way that
26 prevents the other party from receiving the benefits of the contract.
27         176. To the extent it purported to terminate or frustrate Plaintiffs’ ability to
28 perform their duties before the expiration of the notice and cure period following

                                               39                          Case No. 3:24-cv-6266
                                           COMPLAINT
     Case 3:24-cv-06266-JSC     Document 1     Filed 09/05/24   Page 41 of 43




 1 their Good Reason resignations, Twitter improperly frustrated Plaintiffs’ ability to
 2 receive the grant awards to which they are each entitled by refusing to vest their
 3 RSUs on November 1, 2022. By depriving Plaintiffs of the benefits of the
 4 agreements which they earned by performing their duties under the contract and to
 5 which they are entitled, Twitter breached the covenant of good faith and fair
 6 dealing.
 7         177. As a result of Twitter’s breach of the implied covenant of good faith
 8 and fair dealing, Plaintiff Sarah Personette is entitled to specific performance or
 9 damages of no less than: $1,634,726.20, or according to proof, plus interest at the
10 applicable rate.
11         178. As a result of Twitter’s breach of the implied covenant of good faith
12 and fair dealing, Plaintiff James Sullivan is entitled to specific performance or
13 damages of no less than: $450,076.80, or according to proof, plus interest at the
14 applicable rate.
15         179. As a result of Twitter’s breach of the implied covenant of good faith
16 and fair dealing, Plaintiff Dalana Brand is entitled to specific performance or
17 damages of no less than: $738,436.60, or according to proof, plus interest at the
18 applicable rate.
19                                PRAYER FOR RELIEF
20         WHEREFORE, Plaintiffs pray for judgment and the following specific relief
21 against Defendants as follows:
22         1.    Declare that Defendants have violated the terms of the Plan by failing
23               to pay Plaintiffs benefits in accordance with the terms of the Plan;
24         2.    Order Defendants, and each of them, to pay benefits to Plaintiffs under
25               the terms of the Plan;
26         3.    Award damages for wage loss, including any equity grants due to
27               Plaintiffs;
28         4.    Award equitable relief to Plaintiffs, including restitution, disgorgement,

                                              40                          Case No. 3:24-cv-6266
                                          COMPLAINT
     Case 3:24-cv-06266-JSC   Document 1      Filed 09/05/24   Page 42 of 43




1              front pay and/or equitable surcharge;
2         5.   For specific performance of the contracts alleged above;
3         6.   For statutory attorneys’ fees and costs, pursuant to ERISA Section
4              502(g), 29 U.S.C. § 1132(g);
5         7.   For prejudgment interest and post-judgment interest as allowed by law;
6              and
7         8.   For an award of such other and further relief as the Court deems just
8              and proper.
9                                       Respectfully submitted,
10 DATED: September 5, 2024           RENAKER SCOTT LLP
11
12
                                      By:         /s/ Teresa S. Renaker
13
                                            Teresa S. Renaker
14
15                                          FRANKFURT KURNIT KLEIN +
16                                          SELZ PC
                                            Wendy Stryker (pro hac vice pending)
17                                          Kristen Niven (pro hac vice pending)
18                                          Attorneys for Plaintiffs

19
20
21
22
23
24
25
26
27
28

                                            41                         Case No. 3:24-cv-6266
                                       COMPLAINT
     Case 3:24-cv-06266-JSC      Document 1     Filed 09/05/24   Page 43 of 43




1                              DEMAND FOR JURY TRIAL
2          Plaintiffs hereby request trial by jury for the Third and Fourth causes of
3
     action.
4
5                                        Respectfully submitted,
6 DATED: September 5, 2024               RENAKER SCOTT LLP
7
8
9                                        By:         /s/ Teresa S. Renaker
                                               Teresa S. Renaker
10
11
                                               FRANKFURT KURNIT KLEIN +
12                                             SELZ PC
                                               Wendy Stryker (pro hac vice pending)
13
                                               Kristen Niven (pro hac vice pending)
14                                             Attorneys for Plaintiffs
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               42                         Case No. 3:24-cv-6266
                                          COMPLAINT
